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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE



 Orbit Licensing LLC,                                            Case No.
           Plaintiff,                                            Patent Case
           v.                                                    Jury Trial Demanded
 CodePen, Inc.,

           Defendant.


                              COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Orbit Licensing LLC (“Plaintiff”), through its attorneys, complains of CodePen,

Inc. (“Defendant”), and alleges the following:

                                                PARTIES

       1.         Plaintiff Orbit Licensing LLC is a company established in Texas with its principal

place of business at 15922 Eldorado Pkwy, Suite 500-1679, Frisco, TX 75035.

       2.         Defendant CodePen, Inc. is a corporation organized and existing under the laws of

Delaware that maintains an established place of business at 919 NW Bond St, Suite 203, Bend

OR 97702 USA. Defendant can be served through its registered agent, Business Filings

Incorporated, at 108 W 13th St, Wilmington, New Castle, DE, 19801.

                                             JURISDICTION

       3.         This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.

       4.         This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).




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        5.      This Court has personal jurisdiction over Defendant because it has engaged in

systematic and continuous business activities in this District and is incorporated in this District’s

state. As described below, Defendant has committed acts of patent infringement giving rise to

this action within this District.

                                                VENUE

        6.      Venue is proper in this District under 28 U.S.C. § 1400(b) because Defendant has

committed acts of patent infringement in this District and is incorporated in this District’s state.

                                          PATENTS-IN-SUIT

        7.      Plaintiff is the assignee of all right, title and interest in United States Patent Nos.

8,839,195 (the “’195 Patent”) and 9,578,040 (the “’040 Patent”) (collectively “the Patents-in-

Suit”); including all rights to enforce and prosecute actions for infringement and to collect

damages for all relevant times against infringers of the Patents-in-Suit. Accordingly, Plaintiff

possesses the exclusive right and standing to prosecute the present action for infringement of the

Patents-in-Suit by Defendant.

                                          THE ‘195 PATENT

         8.      The ‘195 Patent is entitled “Method, system and terminal for locating,” and

 issued on September 16, 2014. A true and correct copy of the ‘195 Patent is attached hereto as

 Exhibit 1 and incorporated herein by reference.

         9.      The ‘195 Patent is valid and enforceable.

         10.     Plaintiff is the owner of the ‘195 Patent with all substantive rights in and to that

 patent, including the sole and exclusive right to prosecute this action and enforce the ‘195

 patent against infringers, and to collect damages for all relevant times.




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                                        THE ‘040 PATENT

       11.     The ‘040 Patent is entitled “Packet receiving method, deep packet inspection

device and system,” and issued on February 21, 2017. A true and correct copy of the ‘040

Patent is attached hereto as Exhibit 2 and incorporated herein by reference.

       12.     The ‘040 Patent is valid and enforceable.

       13.     Plaintiff is the owner of the ‘040 Patent with all substantive rights in and to that

patent, including the sole and exclusive right to prosecute this action and enforce the ‘040

patent against infringers, and to collect damages for all relevant times.



                        COUNT 1: INFRINGEMENT OF THE ‘195 PATENT

       14.     Plaintiff incorporates the above paragraphs herein by reference.

       15.     Direct Infringement. Defendant has directly infringed one or more claims of

the ‘195 Patent in at least this District by having made, used, offered to sell, sold and/or

imported, without limitation, at least the Defendant products identified in the charts

incorporated into this Count below (among the “Exemplary Defendant Products”) that infringe

at least the exemplary claims of the ‘195 Patent also identified in the charts incorporated into

this Count below (the “Exemplary ‘195 Patent Claims”) literally or by the doctrine of

equivalents. On information and belief, numerous other devices that infringe the claims of the

‘195 Patent have been made, used, sold, imported, and offered for sale by Defendant and/or its

customers.

       16.     Defendant also has directly infringed, literally or under the doctrine of

equivalents, the Exemplary ‘195 Patent Claims, by having its employees internally test and use

these Exemplary Products.




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       17.       Exhibit 3 includes charts comparing the Exemplary ‘195 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant

Products practice the technology claimed by the ‘195 Patent. Accordingly, the Exemplary

Defendant Products incorporated in these charts satisfy all elements of the Exemplary ‘195

Patent Claims.

       18.       Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 3.

       19.       Plaintiff is entitled to recover damages adequate to compensate for Defendants

infringement.

                         COUNT 2: INFRINGEMENT OF THE ‘040 PATENT

       20.       Plaintiff incorporates the above paragraphs herein by reference.

       21.       Direct Infringement. Defendant has directly infringed one or more claims of

the ‘040 Patent in at least this District by having made, used, offered to sell, sold and/or

imported, without limitation, at least the Defendant products identified in the charts

incorporated into this Count below (among the “Exemplary Defendant Products”) that infringe

at least the exemplary claims of the ‘040 Patent also identified in the charts incorporated into

this Count below (the “Exemplary ‘040 Patent Claims”) literally or by the doctrine of

equivalents. On information and belief, numerous other devices that infringe the claims of the

‘040 Patent have been made, used, sold, imported, and offered for sale by Defendant and/or its

customers.

       22.       Defendant also has and continues to directly infringe, literally or under the

doctrine of equivalents, the Exemplary ‘040 Patent Claims, by having its employees internally

test and use these Exemplary Products.




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            23.     Exhibit 4 includes charts comparing the Exemplary ‘040 Patent Claims to the

 Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant

 Products practice the technology claimed by the ‘040 Patent. Accordingly, the Exemplary

 Defendant Products incorporated in these charts satisfy all elements of the Exemplary ‘040

 Patent Claims.

            24.     Plaintiff therefore incorporates by reference in its allegations herein the claim

 charts of Exhibit 4.

            25.     Plaintiff is entitled to recover damages adequate to compensate for Defendants

 infringement.

                                              JURY DEMAND

        26.       Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

requests a trial by jury on all issues so triable.

                                          PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests the following relief:

       A.         A judgment that the ‘195 Patent is valid and enforceable

       B.         A judgment that the ‘040 Patent is valid and enforceable

       C.         A judgment that Defendant has infringed directly one or more claims of the ‘195

                  Patent;

       D.         A judgment that Defendant has infringed directly one or more claims of the ‘040

                  Patent;

       E.         An accounting of all damages not presented at trial;

       F.         A judgment that awards Plaintiff all appropriate damages under 35 U.S.C. § 284

                  for Defendants past infringement with respect to the ‘195 Patent.




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     G.      A judgment that awards Plaintiff all appropriate damages under 35 U.S.C. § 284

             for Defendants past infringement with respect to the ‘040 Patent.

     H.       And, if necessary, to adequately compensate Plaintiff for Defendants infringement,

              an accounting:

            i.   that this case be declared exceptional within the meaning of 35 U.S.C. § 285

                 and that Plaintiff be awarded its reasonable attorneys fees against Defendant

                 that it incurs in prosecuting this action;

           ii.   that Plaintiff be awarded costs, and expenses that it incurs in prosecuting this

                 action; and

          iii.   that Plaintiff be awarded such further relief at law or in equity as the Court

                 deems just and proper.



Dated: June 29, 2021                                  Respectfully submitted,


                                                      /s/ David deBruin
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